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OFPD DAppointed QMCJA (OProPer UC Retained

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

 

CASE NUMBER:
United States of America,
J PLAINTIFF(S), CR 15-00611-SVW-2
Melissa Morton, NOTICE OF APPEAL
DEFENDANT(S).
NOTICE IS HEREBY GIVEN that Melissa Marton hereby appeals to
Name of Appellant

the United States Court of Appeals for the Ninth Circuit from:

Criminal Matter Civil Matter

0) Conviction only [F.R.Cr.P. 32(G)(1)(A)] C) Order (specify):
Conviction and Sentence
Oi Sentence Only (18 U.S.C. 3742)
C] Pursuant to F.R.Cr.P. 32(j)(2) OC Judgment (specify):
O Interlocutory Appeals
C1 Sentence imposed:

XO Other (specify):

C Bail status:

Imposed or Filed on __September 18.2017 __. Entered on the docket in this action on _September 20, 2017 .

A copy of said judgment or order is attached hereto.

September 28, 2017 Angel Navarro _/s/
Date Signature
OC) Appellant/ProSe Counsel for Appellant © Deputy Clerk

Note: The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).

 

A-2 (01/07) NOTICE OF APPEAL
